    Case 4:23-cr-00218        Document 32        Filed on 10/25/23 in TXSD        Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                  §
                                          §          CASE NO 4:23-cr-218
vs.                                       §
                                          §
(1) HARDIK JAYANTILAL PATEL               §
    aka Erik aka Mitesh aka Nick aka Dev, §
    and                                   §
                                          §
(2) DHIRENKUMAR VISHNUBHAI                §
    PATEL                                 §
                                          §
       Defendants.                        §


                    CONSENT TO ORDER OF EXCLUDABLE DELAY

       I, DHIRENKUMAR VISHNUBHAI PATEL, as a Defendant in the above-captioned

case, acknowledge that my attorney has filed a motion seeking a continuance of the deadlines for

filing of pre-trial motions and trial in this case. I understand that under the Speedy Trial Act, 18

U.S.C. § 3161(c)(1), the trial of my case must commence within 70 days from the later of the

filing date of the indictment or information in this case or the date of my first appearance in the

Southern District of Texas. I further understand that the motion of my attorney filed asks the

Court to enter an order of excludable under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), to

permit her adequate time to investigate and prepare pre-trial motions, if necessary. My attorney

has represented to the Court that the ends of justice served by granting this continuance outweigh

my best interests and the interests of the public in a speedy trial in conformity with the Speedy

Trial Act’s time limitations because the failure to grant this continuance would deny her the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence. I further understand that, if the Court grants the motion to continue, the Court will
Case 4:23-cr-00218   Document 32   Filed on 10/25/23 in TXSD   Page 2 of 2
